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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-73 (BAH)
                                              :
NICHOLAS DECARLO
NICHOLAS OCHS,                                :
                                              :
                                              :
                       Defendants.            :


                                 NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Christopher A.

Berridge, as counsel for the United States, is terminating his appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States. Wfasf withdrawl


                                                     Respectfully submitted,

                                                     CHANNING PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                              By:    /s/Christopher A. Berridge
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